Case 2:18-cv-10638-LJM-DRG ECF No. 197, PageID.9402 Filed 01/11/21 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 LAMARR MONSON,

        Plaintiffs,                                Case No. 18-10638
                                                   Honorable Laurie J. Michelson
 v.                                                Magistrate Judge David R. Grand

 JOAN GHOUGOIAN, et al.,

        Defendants.


  ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF’S MOTION
    TO COMPEL DEFENDANT CROCKETT TO RESPOND TO REQUESTS FOR
  ADMISSIONS, TO COMPEL THE CITY OF DETROIT TO PROVIDE RESPONSES
  TO PLAINTIFF’S MAY 5, 2020 SUBPOENA, AND TO IMPOSE SANCTIONS [191]


       In this § 1983 civil rights lawsuit, Plaintiff Monson alleges that former members of the

Detroit Police Department violated his constitutional rights in connection with what he claims was

a wrongful conviction. One of the remaining Defendants is Vincent Crockett. Plaintiff’s Second

Amended Complaint alleges that Crockett committed Constitutional violations when he detained

and arrested Lamarr Monson without probable cause. The Second Amended Complaint also

alleges that Crockett fabricated evidence when he coerced and intimidated a 14-year-old (Cynthia

Stewart) into giving false, inculpatory testimony against Monson. Following Crockett’s

deposition, Monson served additional discovery requests on him. Monson has also served a

subpoena on the City of Detroit for disciplinary information regarding Crockett. Plaintiff

challenges the responses to this discovery, resulting in a motion to compel. The motion is fully

briefed (ECF No. 191, 192, 196) and the Court heard oral argument on January 11, 2021.

       For the reasons stated more fully on the record during the Court’s oral ruling, Plaintiff’s

Motion to Compel Defendant Crockett to Respond to Requests for Admissions, to Compel the
Case 2:18-cv-10638-LJM-DRG ECF No. 197, PageID.9403 Filed 01/11/21 Page 2 of 2




City of Detroit to Provide Responses to Plaintiff’s May 5, 2020 Subpoena, and to Impose

Appropriate Sanctions (ECF No. 191) is GRANTED IN PART AND DENIED IN PART.

Specifically, Plaintiff’s request to compel Defendant Crockett to Respond to Requests for

Admissions is DENIED. Plaintiff’s request to compel the City of Detroit to Provide Responses to

Plaintiff’s May 5, 2020 Subpoena is GRANTED to the extent that the City is ORDERED to

produce records of any disciplinary action taken against Crockett within fourteen days of the date

of this Order. Plaintiff’s request to impose appropriate sanctions is DENIED.

       SO ORDERED.

       Dated: January 11, 2021


                                             s/Laurie J. Michelson
                                             LAURIE J. MICHELSON
                                             UNITED STATES DISTRICT JUDGE




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